Case 2:06-cr-00121-JES-D_F Document 295 Filed 10/19/09 Page 1 of 2 PageID 843



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


UNITED STATES OF AMERICA

vs.                                                  2:06-cr-121-FtM-99DNF

HOWARD HENRY
SHEILA W. HENRY
_____________________________


                            OPINION AND ORDER

      This matter comes before the Court on defendants’ Motion for

Reconsideration     of   Emergency    Motion    to    Vacate   Judgment   of

Conviction and Sentence Due to Violation of the Magistrate’s Act

(Doc. #294) filed on October 1, 2009.        Defendants ask the Court to

reconsider and retract its Opinion and Order (Doc. #276) filed on

May 8, 2009, denying its motion to vacate the judgment in this

criminal case.1     In a criminal case a motion for reconsideration

must be filed within ten days of the order.              United States v.

Russo, 760 F.2d 1229 (11th Cir. 1985); United States v. Vicaria,

963 F.2d 1412, 1413-14 (11th Cir. 1992).             The current motion is

therefore untimely.

      Accordingly, it is now

      ORDERED:




      1
      The Court notes that defendants each have a petition under 28
U.S.C. § 2255 currently pending.
Case 2:06-cr-00121-JES-D_F Document 295 Filed 10/19/09 Page 2 of 2 PageID 844



      Defendants’ Motion for Reconsideration of Emergency Motion to

Vacate Judgment of Conviction and Sentence Due to Violation of the

Magistrate’s Act (Doc. #294) is DISMISSED.

      DONE AND ORDERED at Fort Myers, Florida, this          19th    day of

October, 2009.




Copies:
Counsel of Record
Howard Henry
Sheila Henry




                                     -2-
